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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF ILLINOIS

 SCOTT JENKINS,                             )
                                            )
                      Plaintiff,            )
                                            )
 vs.                                        )   Case No. 3:21-CV-00434-MAB
                                            )
 FAYETTE COUNTY CIRCUIT COURT,              )
                                            )
                      Defendant.            )


                         JUDGMENT IN A CIVIL CASE

DECISION BY COURT.

This matter having come before the Court, and the Court having rendered a decision,

       IT IS ORDERED AND ADJUDGED that pursuant to the Order dated February

15, 2022, Defendant Fayette County Circuit Court was DISMISSED with prejudice from

this action (Doc. 27). Accordingly, this action was DISMISSED with prejudice in its

entirety pursuant to Rule 12(b)(6).

       DATED: February 15, 2022

                                       MARGARET M. ROBERTIE,
                                       Clerk of Court

                                       BY: /s/ Jennifer Jones
                                          Deputy Clerk


APPROVED: /s/ Mark A. Beatty
          MARK A. BEATTY
          United States Magistrate Judge




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